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                       UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


    EMMA PAZ,

                      Plaintiff,

    v.                                                Case No: 6:22-cv-834-RBD-LHP

    SALSAS OF TITUSVILLE
    CORPORATION and JESUS
    VALENCIA,

                      Defendants




                                         ORDER
          On January 17, 2024, the Court issued an Order to Show Cause to Defendants

    Salsas of Titusville Corporation (“Salsas”) and Jesus Valencia and their counsel,

    Robert E. Blanchfield, directing Defendants and their counsel to show cause in

    writing by January 31, 2024 as to why they each should not be sanctioned for their

    behavior in this case to date.    Doc. No. 114.    On January 30, 2024, Attorney

    Blanchfield filed a response on behalf of both Defendants. Doc. No. 115. And on

    January 31, 2024, Attorney Blanchfield filed a response on behalf of himself. Doc.

    No. 117.
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          Also on January 30, 2024, Jesus Valencia filed his own response to the Order

    to Show Cause. Doc. No. 116. Pursuant to Local Rule 2.02(b)(3), “[i]f a lawyer

    represents a person in an action, the person can appear through the lawyer only.”

    As of the writing of this Order, Jesus Valencia remains represented by Attorney

    Blanchfield.   As such, Mr. Valencia cannot file anything in this case pro se.

    Moreover, to the extent Mr. Valencia has attempted to file this response on behalf

    of Salsas, “[a] party, other than a natural person, can appear through the lawyer

    only.” Local Rule 2.02(b)(2). Salsas is a corporate entity, there is nothing in the

    record to suggest that Mr. Valencia is an attorney, and therefore even if the Court

    were to allow Mr. Valencia to file a response, he cannot proceed on behalf of Salsas.

          For these reasons, Mr. Valencia’s response (Doc. No. 116) is ORDERED

    STRICKEN. Attorney Blanchfield is ORDERED to immediately send a copy of

    this Order to Mr. Valencia – via both email and via certified mail.

          DONE and ORDERED in Orlando, Florida on January 31, 2024.




    Copies furnished to:

    Counsel of Record
    Unrepresented Parties


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